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Case 2:07-md-01873-KDE-ALC Document 14212 Filed 05/27/10 Page 3 of 6 [0 Y (p44

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UNITED STATES DISTRICT COURT

for the
EASTERN District of LOUISIANA

ALYSIA MCCRARY, ET AL
Plaintiff
Vv.
THOR CALIFORNIA, INC. ET AL
Defendant

Civil Action No. 09-5975

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Summons in a Civil Action

To: (Defendant's name and address)
FEDERAL EMERGENCY MANAGEMENT AGENCY
through CRAIG FUGATE, Director
500 C. Street, S.W.
Washington, DC 20472

A lawsuit has been filed against you.

Within 60_ days after service of this summons on you (not counting the day you received it), you must serve
on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiffs attorney, whose name and address are:
Justin I. Woods
1100 Poydras St., Suite 2800
New Orleans, LA 70163-2800

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

(Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the Untted States allowed 60 days by
Rule 12(aX{3).)
Case 2:07-md-01873-KDE-MBN Document 14463 Filed 06/22/10 Page 2 of 3

Case 2:07-md-01873-KDE-ALC Document 14212 Filed 05/27/10 Page 4 of 6

@ AO 440 (Rev. 04/08) Civil Summons (Page 2)

Proof of Service .

I declare under penalty of perjury that I served the summons and complaint in this case on

by:

(1)personally delivering a copy of each to the individual at this place,

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with

who resides there and is of suitable age and discretion; or

(3) delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is

3 or
(4) returning the summons unexecuted to the court clerk on ; or
(5) other (specify)
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:

Server’s signature

Printed name and title

Server's address
Case 2:07-md-01873-KDE-MBN Document 14463 Filed 06/22/10 Page 3 of 3

UNITED States POSTAL SERVICE First-Class M,
Irst-Class Mail
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* Sender: Please print your name, address, and ZIP +4 in this box ©

. Justin I. Woods, Esq.
Gainsburgh, Benjamin, David, Meunier & Warshauer, L.L.C
1100 Poydras Street, Suite 2800 a
New Orleans, Louisiana 70163

Formaldehyde: 09-5975, Alysia McCrary

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& Complete items 1, 2, and 3, Also complete eo
item 4 if Restricted Delivery Is desired. Agent
@ Print your name and address on the reverse C] Addressee
So that we can return the card to you. B. Received by ( Printed Na C. Date of Deli
@ Attach this card to the back of the mailpiece, ee ' mn ™ PRS ESE
or on the front if space permits. tht 7 ¢) Ont
- D. Is delivery addiess different from item 12 LI Yes
1. Article Addressed to: If YES, enter delivery address below: (1 No
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through the Office of the Director ” bade RD
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2. Articla Number
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PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540
